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       In the United States Court of Federal Claims
             Nos. 18-204C, 18-206C, 18-207C, 18-208C, 18-211C, 18-214C
                                   (consolidated)

                                 (Filed: February 13, 2018)

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                                    *
FMS INVESTMENT CORP., et al.,       *
                                    *
                    Plaintiffs,     *
                                    *
v.                                  *
                                    *
THE UNITED STATES,                  *
                                    *
                    Defendant.      *
                                    *
*************************************

                                  SCHEDULING ORDER

       On February 13, 2018, the Court held an initial scheduling conference in the above-
captioned consolidated bid protests. During the conference, counsel for the Government
represented to the Court that the Department of Education has agreed to voluntarily stay
its contract awards to Performant Recovery, Inc. and Windham Professionals, Inc. during
the pendency of this bid protest, excluding appeal. As some of the Plaintiffs have moved
for additional injunctive relief, the Court will hold a hearing on Plaintiffs’ applications for
TROs and PIs on Wednesday, February 21, 2018, at 9:30 AM EST in the National Courts
Building, 717 Madison Pl. N.W., Washington, D.C. The Court notes that this proceeding
will be held under seal.

       Additionally, the Government is ordered to file core documents related to this bid
protest, as explained during the scheduling conference, by 12:00 PM EST on Friday,
February 16, 2018. Further, as discussed with counsel for the parties, the Court hereby
adopts the following briefing schedule:

   1. Defendant shall file the certified administrative record on or before Friday, March
      9, 2018, providing a courtesy hard copy to the Court. The Government may file an
      electronic version of the administrative record using a CD.
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   2. Plaintiffs shall file their motions for judgment on the administrative record on or
      before Friday, March 23, 2018.

   3. Defendant shall file its responses to Plaintiffs’ motions for judgment on the
      administrative record and its cross-motion for judgment on the administrative record
      on or before Friday, April 6, 2018.

   4. Plaintiffs may file replies in support of their motions for judgment on the
      administrative record and responses to the Defendant’s cross-motion on or before
      Friday, April 13, 2018.

   5. Defendant may file a reply in support of its cross-motion for judgment on the
      administrative record on or before Friday, April 20, 2018.

      All prospective Defendant-Intervenors shall follow the Defendant’s briefing
schedule. Oral argument, if necessary, will be scheduled at a later time.

      IT IS SO ORDERED.

                                                       s/ Thomas C. Wheeler
                                                       THOMAS C. WHEELER
                                                       Judge




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